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                 IN THE UNITED STATES DISTRICT COURT


                FOR THE SOUTHERN DISTRICT OF GEORGIA
                                                        0. S. DISTRICT OC' IT
                                                       Southern DIetrJct oS Qa.
                            SAVANNAH DIVISION
                                                           Filed In Otfics

                                                               BdHZZsoJl
THE UNITED STATES OF AMERICA,


                Plaintiff,

                                             4:17CR60


TONY OVERTON,


                Defendant




                                ORDER




     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in     the    parties'   motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.




     SO ORDERED, this           day of December, 2017




                                 UNITED STATES MAGISTRATE JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
